                                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE MIDDLE DISTRICT OF TENNESSEE – NASHVILLE DIVISION

  IN RE:

  Integrated Healing Technologies, LLC                                     CASE NO. 18-04526-RM3-7
                                                                           CHAPTER 7
                                                                           JUDGE Randal S. Mashburn
           DEBTOR.

 THE DEADLINE FOR FILING A TIMELY RESPONSE IS: 5/20/19 (30 DAY NOTICE PERIOD)
 IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: 5/28/19, 9:00 A.M.,
 COURTROOM ONE, U.S. CUSTOMS HOUSE, 701 BROADWAY, NASHVILLE, TENNESSEE

                       NOTICE OF AMENDED MOTION FOR ALLOWANCE OR DISALLOWANCE OF CLAIMS

            John C. McLemore, Trustee, has asked the court for the following: to allow Claims 3, 3(a), 6, 11, 17, 29, 30 and 40.

           YOUR RIGHTS MAY BE AFFECTED. If you do not want the Court to grant the attached motion, or if you want the Court to
 consider your views on the motion, then on or before 5/20/19, you or your attorney must:

 1.         File with the Court your response or objection explaining your position. PLEASE NOTE: THE BANKRUPTCY COURT FOR
            THE MIDDLE DISTRICT OF TENNESSEE REQUIRES ELECTRONIC FILING. ANY RESPONSE OR OBJECTION YOU
            WISH TO FILE MUST BE SUBMITTED ELECTRONICALLY. TO FILE ELECTRONICALLY, YOU OR YOUR ATTORNEY
            MUST GO TO THE COURT WEBSITE AND FOLLOW THE INSTRUCTIONS AT: https://ecf.tnmb.uscourts.gov.

            If you need assistance with Electronic Filing, you may call the Bankruptcy Court at (615) 736-5584. You may also visit the
            Bankruptcy Court in person at: U.S. Bankruptcy Court, 701 Broadway, 1st Floor, Nashville, Tennessee (Monday – Friday, 8:00
            a.m. – 4:00 p.m.).

 2.         Your response must state that the deadline for filing responses is 5/20/19, the date of the scheduled hearing is 5/28/19
            and the motion to which you are responding is Amended Motion for Allowance or Disallowance of Claims.

 3.         You must serve your response or objection by electronic service through the Electronic Filing system described above. You must
            also mail a copy of your response or objection to:

            John C. McLemore, Trustee                            United States Trustee
            2000 Richard Jones Rd., Ste. 250                     701 Broadway, Customs House Suite 318
            Nashville, TN 37215                                  Nashville, TN 37203

            If a timely response is filed before the deadline stated above, the hearing will be held at the time and place indicated above.
 THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely response has been filed by calling
 the Clerk’s office at (615) 736-5584 or viewing the case on the Court’s website at www.tnmb.uscourts.gov .

           If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought in the motion and
 may enter an order granting that relief.

            This 18th day of April, 2019

                                                                            Respectfully submitted,

                                                                            /s/ John C. McLemore, Trustee
                                                                            John C. McLemore, Trustee
                                                                            Tn. Bar No. 3430
                                                                            2000 Richard Jones Rd., Ste. 250
                                                                            Nashville, TN 37215
                                                                            (615) 383-9495 (phone)
                                                                            (615) 292-9848 (fax)
                                                                            jmclemore@gmylaw.com




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                   FOR THE MIDDLE DISTRICT OF TENNESSEE - NASHVILLE DIVISION

  IN RE:

  Integrated Healing Technologies, LLC                      CASE NO. 18-04526-RM3-7
                                                            CHAPTER 7
           DEBTOR.                                          JUDGE Randal S. Mashburn


                                TRUSTEE’S AMENDED MOTION FOR
                          ALLOWANCE OF CLAIMS 3, 3(a), 6, 11, 17, 29, 30 AND 40

          On March 7, 2019, the Trustee, John C. McLemore, filed the Trustee’s Motion for Allowance or
 Disallowance of Claims. The motion was distributed to the Debtor, Debtor’s Counsel, all creditors and
 parties in interest. Each was given 30 days in which to respond.

         Several claims were disallowed because the creditors had failed to attach adequate documentation
 supporting their claims. Five creditors contacted the Trustee, determined what was needed to validate their
 claims and furnished the documentation direct to the Trustee.

         One creditor contacted the Trustee and suggested to the Trustee that all claims involving notes
 payable by the Debtor be compared to company records to determine whether the notes were still
 outstanding or had been converted to an ownership interest in the Debtor. This was done. As a result, two
 claims that had been allowed as “General Unsecured” in the Trustee’s original recommendation have been
 downgraded to “Allow/Equity Security Holder.”

           The following are the amendments to the Trustee’s original recommendations:

           Claim No. 3      Gary Ferguson                   $218,702.15      Allow/General Unsecured
           Claim No. 3(a)   Gary Ferguson                   $218,702.16      Allow/General Unsecured
           Claim No. 6      Thomas & Janine Moore           $100,000.00      Allow/Equity Security Holder
           Claim No. 11     Margaret Craig                  $70,636.00       Allow/General Unsecured
           Claim No. 17     Jeffrey R. Fisher               $12,850.00       Allow/Priority 507(a)(4)
           Claim No. 29     Robert Lipman                   $991,667.00      Allow/General Unsecured
           Claim No. 30     Graymar Investors               $3,786,626.00    Allow/General Unsecured
           Claim No. 40     Charles Mann                    $57,750.00       Allow/Equity Security Holder

       WHEREFORE, the Trustee prays that the Court enter an order allowing the Trustee’s
 Recommendations Regarding the Allowance of Claims Filed as amended above.

           The Trustee prays for such other and further relief as may be just.

           Dated this 18th day of April, 2019.

                                                            Respectfully submitted,

                                                            /s/ John C. McLemore, Trustee
                                                            John C. McLemore, Trustee
                                                            Tn. Bar No. 3430
                                                            2000 Richard Jones Rd., Ste. 250
                                                            Nashville, TN 37215
                                                            (615) 383-9495 (phone)
                                                            (615) 292-9848 (fax)
                                                            jmclemore@gmylaw.com




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  IN RE:

  Integrated Healing Technologies, LLC                        CASE NO. 18-04526-RM3-7
                                                              CHAPTER 7
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                        ORDER ALLOWING CLAIMS 3, 3(a), 6, 11, 17, 29, 30 AND 40

         The Trustee filed an Amended Motion to change his original recommendations regarding Claim
 No. 3, 3(a), 6, 11, 17, 29, 30 and 40.

          A copy of the amended motion was served on the Debtor, Debtor’s counsel, U.S. Trustee, and
 Claimants 3, 3(a), 6, 11, 17, 29, 30 and 40 and parties in interest. Each was given 30 days in which to file
 a written objection with the Court. Neither the Trustee nor the U.S. Bankruptcy Court Clerk has received
 an objection.

           It is the opinion of the Court that the Trustee’s motion is well taken.

          It is ORDERED that the Trustee’s amended recommendations regarding the allowance of claims
 filed and the amounts of those claims listed below are thereby APPROVED.

           The following are the amendments to the Trustee’s original recommendations:

           Claim No. 3      Gary Ferguson                     $218,702.15       Allow/General Unsecured
           Claim No. 3(a)   Gary Ferguson                     $218,702.16       Allow/General Unsecured
           Claim No. 6      Thomas & Janine Moore             $100,000.00       Allow/Equity Security Holder
           Claim No. 11     Margaret Craig                    $70,636.00        Allow/General Unsecured
           Claim No. 17     Jeffrey R. Fisher                 $12,850.00        Allow/Priority 507(a)(4)
           Claim No. 29     Robert Lipman                     $991,667.00       Allow/General Unsecured
           Claim No. 30     Graymar Investors                 $3,786,626.00     Allow/General Unsecured
           Claim No. 40     Charles Mann                      $57,750.00        Allow/Equity Security Holder

         It is further ORDERED that this is a final determination as to the amount, allowance and
 disallowance of all claims listed in Trustee’s amended motion.

           This Order was signed and entered electronically as indicated at the top of this page.

 APPROVED FOR ENTRY:

 /s/ John C. McLemore, Trustee
 John C. McLemore, Trustee
 Tn. Bar No. 3430
 2000 Richard Jones Rd., Ste. 250
 Nashville, TN 37215
 (615) 383-9495 (phone)
 (615) 292-9848 (fax)
 jmclemore@gmylaw.com




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           DEBTOR.                                        JUDGE Randal S. Mashburn


                                           CERTIFICATE OF SERVICE

         I hereby certify that on the date noted below, a true and correct copy of the foregoing listed below
 was mailed either electronically or by U.S. mail, postage prepaid, to the U.S. Trustee, 701 Broadway,
 Customs House Suite 318, Nashville, TN 37203; Debtor, Integrated Healing Technologies, LLC, c/o Albert
 Rodewald, Co-Chair of the Board, 4814 Byrd Lane, College Grove, TN 37046; Robert Lipman, Co-Chair of the
 Board, 411 Great Circle Rd., Nashville, TN 37228; Debtor’s attorney, John Charles Tishler, 511 Union Street,
 Ste. 2700, Nashville, TN 37219; Gary Ferguson, 2002 Overhill Drive, Nashville, TN 37215; Thomas and
 Janine Moore, 4650 Everal Ln, Franklin, TN 37064-7723; Margaret Craig, 27 Lexington Green, Nashville,
 TN 37215-2457; Jeffery R. Fisher, 539 Close Lane, Nashville, TN 37205-2702; Robert Lipman, c/o Roger
 Jones, Bradley Arant, 1600 Division St., Ste. 700, Nashville, TN 37023; Graymar Investors, c/o Roger
 Jones, Bradley Arant, 1600 Division St., Ste. 700, Nashville, TN 37023; Charles Mann, c/o Erik O.
 Thorngren; 214 2nd Avenue N., Ste. 300, Nashville, TN 37201; and all parties requesting notice.

           This 18th day of April, 2019.

                                                           Respectfully submitted,

                                                           /s/ John C. McLemore, Trustee
                                                           John C. McLemore, Trustee
                                                           Tn. Bar No. 3430
                                                           2000 Richard Jones Rd., Ste. 250
                                                           Nashville, TN 37215
                                                           (615) 383-9495 (phone)
                                                           (615) 292-9848 (fax)
                                                           jmclemore@gmylaw.com

 Attachments:

            (1)   Notice of Chapter 7 Trustee’s Amended Motion for Allowance or Disallowance of Claims

            (2)   Chapter 7 Trustee’s Amended Motion for Allowance or Disallowance of Claims

            (3)   Proposed Order Allowing Claims 3, 3(a), 6, 11, 17, 29, 30 and 40




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